923 F.2d 849Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Freddie TAYLOR, Plaintiff-Appellant,v.CUMBERLAND COUNTY DISTRICT ATTORNEY'S OFFICE;  Sharon RippsSmith, Defendants-Appellees.
    No. 90-7163.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 7, 1991.Decided Jan. 25, 1991.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-90-500-CRT-H)
      Freddie Taylor, appellant pro se.
      E.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL, WIDENER and K.K. HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Freddie Taylor appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Taylor v. Cumberland County District Attorney's Office, CA-90-500-CRT-H (E.D.N.C. Oct. 17, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    